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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WISCONSIN

DRIFTLESS AREA LAND CONSERVANCY
and WISCONSIN WILDLIFE FEDERATION,                   No. 19-cv-1007

                   Plaintiffs,

       v.

MICHAEL HUEBSCH, REBECCA VALCQ,
ELLEN NOWAK, and PUBLIC SERVICE
COMMISSION OF WISCONSIN,

                   Defendants.

 AMERICAN TRANSMISSION COMPANY LLC AND ATC MANAGEMENT INC.’S
BRIEF IN SUPPORT OF MOTION TO INTERVENE PURSUANT TO FRCP 24(A) & (B)

                                        BACKGROUND

      On April 30, 2018, ATC, Dairyland Power Cooperative (“Dairyland”), and ITC Midwest

LLC (“ITC Midwest”) (collectively, the “Co-Owners”) filed with the Public Service

Commission of Wisconsin (“Commission”) an application (the “Application”) for a certificate of

public convenience and necessity (“CPCN” or “Permit”) to construct the Cardinal-Hickory

Creek 345-kilovolt (“kV”) transmission line project (“Cardinal-Hickory Creek Project” or

“Project”). (See Decl. of Patrisha Smith in Support of ATC’s Motion to Intervene, ¶ 7)

(hereinafter “Smith Decl.”) The Cardinal-Hickory Creek Project will be a 345-kV transmission

line from the Cardinal Substation in Dane County, to the new Hill Valley Substation near

Montfort, Wisconsin, and terminating at the existing Hickory Creek Substation in Dubuque

County, Iowa. (Smith Decl., ¶ 8)

      ATC and ITC Midwest will each own 45.5 percent of the Project, and Dairyland will own

the remaining nine percent. (Smith Decl., ¶ 10) In Wisconsin, ATC’s ownership interest in the

Project is in the Hill Valley Substation, the Cardinal Substation, and the transmission line and
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associated facilities between the Hill Valley and Cardinal substations. (Smith Decl., ¶ 11) ATC

will construct this portion of the Project and share ownership in this portion of the transmission

line with Dairyland. (Smith Decl., ¶ 11) ATC will acquire easements for the portion of the

Project that it will own. (Smith Decl., ¶ 12) ITC Midwest and Dairyland will jointly own the

remainder of the Project in Wisconsin, and ITC Midwest will be responsible for Project

construction and easement acquisition in these areas. (Smith Decl., ¶ 13)

      Many parties moved to intervene in the CPCN proceeding after the Co-Owners filed the

Application, including the Plaintiffs. (Smith Decl., ¶ 14) The Co-Owners, the Plaintiffs,

Commission staff, and other parties to the proceeding subsequently engaged in a substantial

amount of pre-hearing discovery; submitted pre-filed written testimony and exhibits into the

record; participated in a week-long technical hearing; and submitted post-hearing briefs. (Smith

Decl., ¶ 15) At an open meeting held on August 20, 2019, the Commission issued a preliminary,

oral decision unanimously approving the Project. (Smith Decl., ¶ 16 & Ex. A)

       On September 20, 2019, the Plaintiffs filed a motion with the Commission (the “Recusal

Motion”) requesting that (1) Chairperson Valcq and Commissioner Huebsch recuse themselves

from deliberating the merits of the case, and (2) the Commission refrain from approving the

Project. (See ECF No. 1, ¶¶ 146-47 & Ex. A (hereinafter, “Compl.”); Smith Decl., ¶ 17) In other

words, the Plaintiffs waited until after the Commission had ruled against them and orally

approved the Project to file their Recusal Motion. Approximately five days later, the Co-Owners

filed a response opposing the Recusal Motion. (Smith Decl., ¶ 19 & Ex. B)

       On September 26, 2019, the Commission issued its final written decision (“Final Order”)

approving the Application, issuing a CPCN for the Project, and denying the Recusal Motion.




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(Smith Decl., ¶ 20) 1 On December 11, 2019, the Plaintiffs filed their Complaint with this Court,

alleging that the Defendants violated their constitutional rights by issuing the Final Order and

seeking relief under 42 U.S.C. § 1983. (See Compl.) Over the next two days, the Plaintiffs and

several other parties to the proceedings before the Commission filed petitions for judicial review

of the Final Order under the Wisconsin Administrative Procedure Act in various Wisconsin state

courts. (Smith Decl., ¶¶ 21-22)

                                          ARGUMENT

I.     ATC SHOULD BE ALLOWED TO INTERVENE AS OF RIGHT.

       FED. R. CIV. P. 24(a) governs intervention as of right and provides, in relevant part:

               a) Intervention of Right. On timely motion, the court must permit
               anyone to intervene who:

               ***

                   (2) claims an interest relating to the property or transaction that
                   is the subject of the action, and is so situated that disposing of
                   the action may as a practical matter impair or impede the
                   movant's ability to protect its interest, unless existing parties
                   adequately represent that interest.

Rule 24(a) recognizes a right to intervene when “(1) the motion to intervene is timely filed; (2)

the proposed intervenors possess an interest related to the subject matter of the action; (3)

disposition of the action threatens to impair that interest; and (4) the name parties inadequately

represent that interest.” Wis. Educ. Ass’n Council v. Walker (“WEAC”), 705 F.3d 640, 657-58

(7th Cir. 2013) (citing Ligas ex rel. Foster v. Maram, 478 F.3d 771, 773 (7th Cir. 2007)). As set

forth below, ATC satisfies all four elements and respectfully requests that the Court allow it to

intervene as a matter of right.


1
  A copy of the Final Order is attached as Exhibit A to the Motion to Dismiss that ATC is jointly
filing in the above-captioned matter, concurrently with this Motion and its Answer to the
Complaint.
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       A.      ATC’s motion is timely.

       Determining whether a motion to intervene is timely is a question “committed to the

sound discretion of the district court” and depends on an evaluation of the following factors: (1)

the length of time the movant knew or reasonably should have known of their interest in the

case; (2) whether any delay in moving to intervene causes prejudice to existing parties; (3)

whether the movant would be prejudiced if the motion is denied; and (4) any other unusual

circumstances. Shea v. Angulo, 19 F.3d 343, 349 (7th Cir. 1994) (citing United States v. City of

Chicago, 908 F.2d 197, 199 (7th Cir. 1990)); South v. Rowe, 759 F.2d 610, 612 (7th Cir. 1985).

       Here, ATC did not delay in filing its Motion. ATC became aware of this action around

the time the case was filed with this Court on December 11, 2019. The proceedings in this

litigation are still in their early stages, and ATC has filed this Motion well before the parties’

discovery conference and the Court’s scheduling conference. ATC’s Motion is therefore timely.

       Moreover, because ATC has not delayed in filing this Motion, there will be no undue

prejudice to existing parties from ATC’s participation in this case.

       Finally, as a co-owner of the underlying Project at issue in the Complaint, and a co-

recipient of the CPCN being challenged, ATC has a substantial interest in having the Court

uphold the Commission’s Final Decision and, as described in more detail below, will be

prejudiced if it is not allowed to intervene.

       B.      ATC has a direct, significant, and legally protected interest related to the
               subject matter of this case.

       ATC’s interest in intervening as an intervenor-defendant in support of the Commission’s

Final Order arises from its direct, significant, and legally protectable interest in the Permit and in

building and operating the Project to provide adequate, reliable, and cost-effective electric

transmission service to the public. ATC was one of the co-applicants that applied for the Permit

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the Complaint seeks to overturn and/or enjoin as part of this proceeding. The Complaint

challenges not only the Commission’s Final Order granting the Permit, but also the sufficiency

of the proceedings leading to the Final Order, and ATC was a party to those proceedings.

        In similar circumstances, courts have granted motions to intervene, typically as a matter

of course. See, e.g., Sierra Club, Inc. v. Envtl. Protection Agency, 358 F.3d 516, 517-18 (7th Cir.

2004) (electric company proposing power plant permitted to intervene as of right in lawsuit

challenging permit issued for power plant); Sierra Club v. Jackson, Case No. 09-CV-751, 2010

WL 547335, at *1 (W.D. Wis. Feb. 11, 2010) (holder of Clean Air Act permit had an interest in

lawsuit challenging such permit sufficient to support intervention as of right); WildEarth

Guardians v. U.S. Forest Serv., 573 F.3d 992, 995-96 (10th Cir. 2009) (mining permit-holder

permitted to intervene as of right in lawsuit challenging mining permit).

        Moreover, the Final Order enables ATC, among others, to (if necessary) exercise eminent

domain to acquire lands and interests needed for the Project. See Wis. Stat. §§ 32.03(5)(a),

32.07(1). However, Plaintiffs allege that the Co-Owners are not lawfully permitted to exercise

eminent domain for the Project:

                •       “Land may not constitutionally be taken for the [Project] whether or not
                        just compensation is provided.” (Compl. ¶ 191.)

                •       “The [Project] does not have the ‘public use’ required by the Fifth
                        Amendment, and therefore land may not constitutionally be taken for this
                        project, whether or not just compensation is provided.” (Compl. ¶ 195.)

        Thus, Plaintiffs claim that will directly impact ATC’s legal rights under the Final Order

and Wis. Stat. ch. 32. Because Plaintiffs are seeking to invalidate the Permit and are challenging

ATC’s ability to exercise eminent domain for the Project, ATC has multiple unique interests

related to the subject matter of this action. Accordingly, ATC has satisfied the second requirement

for intervention as of right.

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       C.      Disposition of this case threatens to impair ATC’s interests.

       As set forth above, ATC has an interest in the Project, the Permit, and its ability to

exercise eminent domain, if necessary, to acquire land for the construction of its portion of the

Project. The Complaint challenges each of these interests. ATC and the Co-Owners cannot

lawfully build the Project without a CPCN from the Commission. Wis. Stat. § 196.491(3) (“[N]o

person may commence the construction of a [high-voltage transmission line] unless the person

has applied for and received a certificate of public convenience and necessity . . .”). If Plaintiffs

prevail on any of their claims in this litigation, ATC may be unable to proceed with the

construction and operation of its portion of the Project, the construction and operation of its

portion of the Project could be delayed, the costs of the Project could increase, and/or the

acquisition of easements for its portion of the Project could be delayed or not occur. (Smith

Decl., ¶ 23) Therefore, denying intervention would impair or impede ATC’s ability to protect its

interests. See, e.g., Jackson, 2010 WL 547335, at *1 (recognizing that permit holder’s interest

could be impaired through resolution of case because operational requirements of permit could

be affected); WildEarth, 573 F.3d at 996-97 (“If WildEarth is successful in this litigation,

operation of the West Elk Mine will be impaired, or even halted.”).

       D.      The named parties do not adequately represent ATC’s interests.

       Other parties to this proceeding cannot adequately represent ATC’s interests.

Importantly, the Commission is not charged with protecting ATC’s interests. See Planned

Parenthood of Wisconsin, Inc. v. Kaul, 942 F.3d 793, 799 (7th Cir. 2019) (there is a strong

presumption of adequacy where “the representative party is a governmental body charged by law

with protecting the interests of the proposed intervenors”) (internal quotation marks and citations

omitted). Instead, the Commission “has jurisdiction to supervise and regulate every public

utility.” Wis. Stat. § 196.02. The default rule for intervention as of right is a liberal one, which is
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satisfied if the prospective intervenor “shows that representation of [their] interest ‘may be’

inadequate.” Trbovich v. United Mine Workers of Am., 404 U.S. 528, 538 n. 10 (1972).

        ATC does not doubt the ability of counsel for the Commission to defend the Commission

and its Final Order. ATC’s interests, however, are not adequately represented because the

Commission, as a government agency, has different rights, interests, and obligations than a

permit holder like ATC. See Sierra Club, 358 F.3d at 518 (allowing private permit-holders to

intervene despite participation as defendant by government agency because of potential

competing interests and policies); see also WildEarth, 573 F.3d at 996 (stating that “the

intervenor’s showing is easily made when the party upon which the intervenor must rely is the

government, whose obligation is to represent not only the interest of the intervenor but the public

interest generally, and who may not view that interest as coextensive with the intervenor’s

particular interest”).

        For example, new, different Commissioners could be appointed during the pendency of

this action that decide to try to not to defend the Permit or some portion of it for political or other

policy reasons. If this were to occur and ATC were not a full party in this proceeding, ATC’s

rights and obligations would be impaired. Moreover, because the Commission is a government

entity and the individual Commissioners are political appointees, they might choose not to make

certain arguments or produce certain evidence for political and/or internal policy reasons that

ATC, as the Permit-holder, might want to present.

        Plaintiffs are also asserting claims that directly challenge ATC’s potential exercise of

eminent domain for the Project. The Commission will not be the condemnor for the Project;

rather, if condemnation is required on ATC’s segment of the Project, ATC will pursue

condemnation under Wis. Stat. ch. 32. As such, ATC has a substantial interest in defending its


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ability to exercise eminent domain, and this interest is separate and distinct from any interest the

Commission has in this litigation.

       Similarly, to the extent Plaintiffs assert that the participation of only one Co-Owner is

sufficient to represent the interests of the other Co-Owners, such an argument should also be

rejected. Plaintiffs challenge the ability of each Co-Owner to exercise eminent domain, and each

of these entities should be allowed to fully defend their own rights.

       Because the Commission, the individual Commissioners, and the other Co-Owners do not

adequately represent the multiple interests ATC has in this action, ATC has established the

fourth and final requirement for intervention as of right. Accordingly, ATC respectfully requests

that the Court grant its Motion.

II.    IN THE ALTERNATIVE, ATC REQUESTS PERMISSIVE INTERVENTION.

       Alternatively, a person may seek permissive intervention upon filing a timely motion

showing a shared claim or defense with the main action. FED. R. CIV. P. 24(b)(1)(B). In

determining whether to grant permissive intervention, the court considers the prejudice to the

original parties and the potential for slowing down the case. City of Chicago v. Fed. Emergency

Mgmt. Agency, 660 F.3d 980, 986-87 (7th Cir. 2001).

       As set forth above, ATC has satisfied the requirements for intervention as of right. In the

alternative, however, ATC requests that it be allowed to permissively intervene because ATC has

a defense that shares a common question of law or fact with Plaintiffs’ claims and because ATC’s

intervention will not unduly delay the case or prejudice the existing parties. See FED. R. CIV. P.

24(b); see also Security Ins. Co. of Hartford v. Schipporeit, Inc., 69 F.3d 1377, 1381 (7th Cir.

1995); Emerson Hall Assoc., L.P. v. Travelers Casualty Ins. Co. of America, No. 15-cv-447, 2016

WL 223794, at *1 (W.D. Wis. Jan. 19, 2016). The interests of ATC that share a common question

of law or fact with Plaintiffs’ claims are described above, in Section I(B). Further, as discussed in
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Section I(A), ATC’s Motion is timely and this case is in its early stages; as such, ATC’s

intervention will not unduly delay the case. With respect to prejudice against existing parties,

ATC’s participation would have no such prejudice because Plaintiffs have already put ATC’s

interests directly at issue in their Complaint. See Emerson Hall, 2016 WL 223794, at *2 (allowing

a third party to intervene where its stated interests were “already at issue in this case”).

       There are also practical reasons to allow ATC to intervene. As a Defendant in this case,

ATC may be generally aligned with the Commission, but as one of the recipients of the CPCN,

ATC is in the best position to explain, among other things, details related to its portion of the

Project; whether it has had or has a relationship with Chairperson Valcq, 2 WEC Energy Group

and Wisconsin Electric Power Company (which go directly to the Plaintiffs’ allegations in their

Complaint); and how the present action could impact the general public and ATC’s business and

other legally protectible interests. In these ways, ATC possesses unique knowledge regarding the

Commission’s actions that the Complaint challenges.

                                          CONCLUSION

       For the reasons stated above, ATC respectfully requests that this Court grant its motion to

intervene as of right. In the alternative, and at a minimum, ATC requests to be allowed to

permissively intervene.



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 In fact, Commissioner Valcq has never been employed by ATC or served as outside counsel for
ATC on any matters. (Smith Decl., ¶ 18)
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 DATED: January 24, 2020              Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on January 24, 2020, I electronically served the forgoing document

on all counsel of record registered for electronic filing in the above-captioned proceeding by

filing the same with the Clerk of Court using the Court’s ECF system.



                                                     /s/ Brian H. Potts
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